        Case 1:21-mj-00564-GMH Document 1-1 Filed 08/12/21 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                            )
                                                    )
               v.                                   )       Case No.: _____________
                                                    )
THOMAS LANE HUDSON,                                 )
                                                    )
                                                    )
                Defendant.                          )

 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Kelsey Minyon, Special Agent of Homeland Security Investigations (HSI), Washington

D.C., being first duly sworn, hereby depose and state as follows:

       1.      I am a Special Agent with Homeland Security Investigations (HSI) and have been

so employed since April 2019. Since December 2019, I have been assigned to the HSI High

Intensity Drug Trafficking Area (HIDTA) Group. I have received formal training and have

experience in narcotics investigations. I have participated in multiple separate investigations

involving the distribution of controlled substances and firearms. I have become familiar with the

methods and techniques associated with the distribution of narcotics and firearms, the laundering

of illegally obtained proceeds, and the organization of drug conspiracies. As a part of these

investigations, I have used various investigative techniques including physical and stationary

surveillance, confidential informants and cooperating sources, court-authorized interceptions,

undercover operations, physical searches, mail covers, and electronic examinations of evidence. I

have worked alongside and consulted with other law enforcement officials and other professionals

experienced in drug-related investigations.




                                                1
         Case 1:21-mj-00564-GMH Document 1-1 Filed 08/12/21 Page 2 of 4




       2.      Based on my training and experience, I am familiar with how narcotics traffickers

communicate and operate. I am aware of how narcotics traffickers organize and operate their

illegal activities, including the use of locations, vehicles, and other resources in the furtherance of

the illegal activities. I am familiar with the typical make up and operation of narcotics trafficking

organizations including the distribution, storage, and transportation of the illegal drugs, the

collection of money which represents the proceeds of narcotics trafficking and other criminal

activity, and money laundering. As a federal agent, I am authorized to investigate violations of

laws of the United States, and as a law enforcement officer I am authorized to execute warrants

issued under the authority of the United States.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all my knowledge, or the knowledge of others, about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A)(viii) (Possession with Intent to Distribute More than 500 grams of a Mixture or

Substance Containing a Detectable Amount of Methamphetamine) and of 21 U.S.C. §§ 841(a)(1),

841 (b)(1)(C) (Possession with Intent to Distribute a Mixture and Substance Containing a

Detectable Amount of Heroin and a Mixture and Substance Containing a Detectable Amount of

Gamma Butyrolactone), have been committed by THOMAS LANE HUDSON (“HUDSON”).

                                       PROBABLE CAUSE

       5.      At approximately 6:00 a.m. on August 11, 2021, law enforcement officers from

HSI and the Metropolitan Police Department (MPD) arrived at 1464 Rhode Island Avenue NW,



                                                   2
         Case 1:21-mj-00564-GMH Document 1-1 Filed 08/12/21 Page 3 of 4




Washington D.C. 20005 to serve judicially authorized search warrant 21-SW-251 on Apartment

600, HUDSON’s known address.

       6.      At approximately 6:02 a.m., officers conducted a knock and announce on the front

door of Apartment 600 with no answer. Officers then forced entry into the apartment and observed

a white male later identified as HUDSON.

       7.      HUDSON was the only occupant of the apartment and was detained and a search

of the premises was conducted by members of MPD and HSI. Numerous items were discovered

during the search confirming HUDSON’s residence in the apartment, including: a Lease

agreement in HUDSON’s name, and various other forms of identification for HUDSON.

       8.      In searching the premises, law enforcement discovered and seized apparent

controlled substances which were field tested and weighed. The total amount of controlled

substances seized from HUDSON’s apartment was:

                   a. 1,096.4 grams of a mixture and substance containing Methamphetamine, a
                      Schedule II controlled substance.

                   b. 29.5 grams of a mixture and substance containing Heroin, a Schedule I
                      controlled substance.

                   c. 322.974 fluid ounces of a mixture and substance containing Gamma
                      Butyrolactone (“GBL”), a Schedule I controlled substance.

       9.      In addition to controlled substances, law enforcement discovered assorted items

related to distribution of controlled substances, including:

                   a. Digital scales.

                   b. Plastic zip bags.

                   c. Vacuum sealer and vacuum sealer bags.

                   d. Currency counting machine.

                   e. Approximately $48,000 in United States currency.

                                                  3
         Case 1:21-mj-00564-GMH Document 1-1 Filed 08/12/21 Page 4 of 4




       10.     Based on my training and experience investigating narcotics offenses, the quantity

of narcotics, as well as the packaging materials and large amount of United States currency located

in the apartment, THOMAS LANE HUDSON possessed the narcotics describe above with the

intent to distribute them, rather than for personal use.

       11.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about August 11, 2021, in the District of Columbia, THOMAS LANE HUDSON

violated 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(viii) (Possession with Intent to Distribute More than

500 grams of a Mixture or Substance Containing a Detectable Amount of Methamphetamine).

       12.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about August 11, 2021, in the District of Columbia, THOMAS LANE HUDSON

violated 21 U.S.C. §§ 841(a)(1), 841 (b)(1)(C)) (Possession with Intent to Distribute a Mixture

and Substance Containing a Detectable Amount of Heroin and a Mixture and Substance

Containing a Detectable Amount of Gamma Butyrolactone).



                                       _____________________________________
                                       Special Agent Kelsey Minyon
                                       Homeland Security Investigations



Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on August
12, 2021.
                     Digitally signed by G.
                     Michael Harvey
                     Date: 2021.08.12
                     12:29:55 -04'00'
_________________________________________
G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




                                                  4
